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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

ALFRED CHESTNUT, et al.,                           )
                                                   )
                             Plaintiffs,           )
                                                   )
              v.                                   )      Civil Action No. LKG-20-2342
                                                   )
DONALD KINCAID, et al.,                            )
                                                   )
                             Defendants.           )
                                                   )

                    CERTIFICATE OF DISCOVERY CONFERENCE

       On March 16, 2022, Mayer Engelsberg, counsel for Individual Defendants sent an email

request to meet and confer regarding Ms. McKnight’s objections to Individual Defendants’ record

subpoenas to Charles N. Curlett, Jr., counsel for Angela McKnight. Counsel for Individual

Defendants sent a follow-up request on March 18, 2022. Counsel for Individual Defendants left a

voicemail for Counsel for McKnight and sent a follow-up email on March 21, 2022. Counsel for

McKnight provided the following response via email on the evening of March 21, 2022:

       Mayer,
       I will be out of the country until Sunday. By this email, we have conferred. I
       reiterate my earlier objections.
       Best,
       Chad

       The parties were unable to resolve their dispute and the Individual Defendants therefore

submit the following issues to the Court for resolution: 1) Ms. McKnight’s refusal to produce

records responsive to Individual Defendants’ record subpoenas.



Date: March 23, 2022                               Respectfully submitted,


                                                   /s/ Mayer Engelsberg

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                                                     Attorneys for Donald Kincaid, Bryn Joyce, &
                                                     John Barrick




                                CERTIFICATE OF SERVICE
       I hereby certify that on March 23, 2022, I caused the foregoing document to be

electronically filed with the Court’s CM/ECF system, which will send an electronic copy of the

same to all counsel of record, and that I served a copy of the same on counsel for Angela McKnight,

via email.

                                                            /s/ Mayer Engelsberg




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